O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the

                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                            )   Case No:   1:05CR246-03
               CRYSTAL ELIZABETH HAMPTON
                                                                            )   USM No: 18934-058
Date of Previous Judgment: 04/26/2006                                       )   Tanzania C. Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
       G DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 36 mos & 1 day months is reduced to time served plus 10 days .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    21              Amended Offense Level:                                               19
Criminal History Category: I               Criminal History Category:                                           I
Previous Guideline Range:  37 to 46 months Amended Guideline Range:                                             30        to 37   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): The original sentence was given outside the advisory guideline system, ie: a variance. No factors
                     have changed since the original sentencing.




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                      04/26/2006         shall remain in effect.
IT IS SO ORDERED.                                                                    Signed: April 30, 2008

Order Date:          April 30, 2008


Effective Date:
                       (if different from order



               Case 1:05-cr-00246-MR-WCM                            Document 137            Filed 04/30/08       Page 1 of 1
